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 2   District of Arizona
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     Attorneys for Plaintiff
 7
 8                             UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF ARIZONA
10
     United States of America,                               No. CR-19-01199-PHX-SMB
11
                            Plaintiff,
12                                                           MOTION TO CONTINUE
               vs.                                              SENTENCING
13
14   Jesse Don Moquino,                                    (Government’s Fourth Request)
15                         Defendant.
16          The United States of America, by and through undersigned counsel, hereby moves
17   to continue the sentencing hearing set March 7, 2022, for two weeks. Government’s
18   counsel will be on annual leave and out of town during the time set for sentencing.
19   Furthermore, at the last hearing set for sentencing, the defendant notified the Court that he
20   wanted to be sentenced in person. The sentencing was continued for that purpose. In
21   person hearings are set to resume on March 14, 2022, and the government requests a time
22   set for sentencing thereafter.
23          Government’s counsel has attempted to ascertain defense counsel’s position on this
24   motion but has not been able to do so at the time of this filing.
25   ///
26   ///
27   ///
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 1          It is not expected that excludable delay under Title 18 U.S.C. § 3161 will occur as
 2   a result of this motion or an order based thereon.
 3          Respectfully submitted this 3rd day of March, 2022.
 4                                                     GARY M. RESTAINO
                                                       United States Attorney
 5                                                     District of Arizona
 6                                                      s/Raynette M. Logan
                                                       RAYNETTE M. LOGAN
 7                                                     Assistant U.S. Attorney
 8                                CERTIFICATE OF SERVICE
 9
            I hereby certify that on the 3RD day of March, 2022, I electronically transmitted the
10
     attached document to the Clerk's Office using the CM/ECF System for filing and
11
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrant: Jeffrey
12
     Williams.
13
14    s/Rebecca Clarke Robinaugh        _
     U.S. Attorney’s Office
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